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               Exhibit 4
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· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE CENTRAL DISTRICT OF ILLINOIS
· · · · · · · · · · · · SPRINGFIELD DIVISION

· · LACIE DAVIS, individually and· · · )
· · on behalf of all others similarly· )
· · situated,· · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · Plaintiff,· · ·)
· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · ·-vs-· · · · · · · · ) Case 3:22-cv-03071
· · · · · · · · · · · · · · · · · · · ·)· · · CLR-KLM
· · RICOLA USA, INC.,· · · · · · · · · )
· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · Defendant.· · ·)

· · · · · · · · · · · ·VIDEOTAPED DEPOSITION

· · · · · · · · · · · · · · LACIE DAVIS

· · Plaintiff herein called for examination pursuant to notice
· · and the Federal Rules of Civil Procedure as they pertain to
· · the taking of depositions before Lea Ruth Cohen, CSR, and a
· · Notary Public in and for the County of Peoria, State of
· · Illinois, on Thursday, August 31, 2023, at the Marriott
· · Pere Marquette, 501 Main Street, Boardroom, Peoria,
· · Illinois, commencing at the hour of 11:01 a.m.

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·1

·2   · APPEARANCES:

·3   · · · ·SPENCER SHEEHAN, ESQUIRE
· · ·· · · ·Sheehan & Associates, P.C.
·4   · · · ·60 Cuttermill Road, Suite 412
· · ·· · · ·Great Neck, New York· 11021
·5   · · · ·(516) 268-7080
· · ·· · · ·spencer@spencersheehan.com
·6
· · ·· · · ·on behalf of the Plaintiff;
·7

·8

·9   · · · ·KHIRIN A. BUNKER, ESQUIRE
· · ·· · · ·Sheppard Mullin
10   · · · ·Four Embarcadero Center, 17th Floor
· · ·· · · ·San Francisco, California· 94111-4109
11   · · · ·(415)774-3162
· · ·· · · ·kbunker@sheppardmullin.com
12
· · ·· · · ·on behalf of the Defendant;
13

14

15   ALSO PRESENT:

16   · ·Wayne Rutherford, Videographer;

17   · ·Nathan Davis.

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·1   · · · · · · · · · · · · ·I N D E X

·2
· · Called on behalf of the Defendant:
·3
· · LACIE DAVIS
·4
· · Direct Examination by Mr. Bunker . . .· ·5
·5
· · Cross-Examination by Mr. Sheehan . . . 135
·6

·7

·8

·9

10   Exhibit· · · · · · ·Page· · · Description

11 Deposition· ·1 . . .· 19· · · Attorney Rep. Agreement
· · Deposition· ·2 . . .· 61· · · RICOLA8
12 Deposition· ·3 . . .· 70· · · Top Class Actions post
· · Deposition· ·4 . . .· 80· · · Top Class Actions post
13 Deposition· ·5 . . .· 81· · · Top Class/Children's Place
· · Deposition· ·6 . . .· 81· · · Top Class/Afterpay
14 Deposition· ·7 . . .· 73· · · Top Class/Walmart
· · *Deposition· 9 . . .· 84· · · Top Class/Klarna
15 Deposition· 10 . . .· 88· · · Complaint
· · *Deposition 12 . . . 133· · · Class Actions Sett.
16 Deposition· 13 . . . 134· · · Screenshot

17

18   (Exhibits retained by counsel.)

19

20

21

22

23

24   · · · · · · · ·*(Indicates skip in sequence.)


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·1   · · · · · · · ·THE VIDEOGRAPHER:· We're on the record.
·2   · · · · · This begins the video deposition of Lacie Davis
·3   in the matter Davis v. Ricola USA, Inc.
·4   · · · · · Today's date is 8/31/2023.· The time on the video
·5   is 11:01 a.m.
·6   · · · · · My name is Wayne Rutherford.· The court reporter
·7   is Lea Cohen of Thompson Court Reporters.· Today's
·8   deposition is taking place in Peoria Pere Marquette in
·9   Peoria, Illinois.
10   · · · · · Will counsel please identify themselves and the
11   parties they represent?
12   · · · · · · · ·MR. SHEEHAN:· For the Plaintiff, Spencer
13   Sheehan, Sheehan and Associates, P.C.
14   · · · · · · · ·MR. BUNKER:· And Khirin Bunker for Defendant
15   Ricola, and we also have joining us remotely Sascha Henry
16   from my office, and we may also be joined by Paul Garrity
17   also from my office.· I believe we also have Bill Higgins
18   and Don Parriott from Ricola.
19   · · · · · · · ·THE VIDEOGRAPHER:· Will the court reporter
20   please swear in the witness?
21   · · · · · · · · · · · (Witness sworn.)
22   · · · · · · · · · · · · LACIE DAVIS,
23   ·having been called on behalf of the Defendant,
24   ·being first duly sworn, was examined and testified


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·1   · · ·Q.· ·How did you first become involved in this
·2   lawsuit?
·3   · · ·A.· ·I was scrolling on Facebook and I seen an ad.
·4   · · ·Q.· ·What did that ad say?
·5   · · ·A.· ·It was about how -- about the product, specific
·6   product, that it had herbs, Swiss herbs.· I immediately
·7   thought, hey, I use that product.· So I clicked on the ad.
·8   · · ·Q.· ·What was the product that was in that ad?
·9   · · ·A.· ·The Ricola cough drops.
10   · · ·Q.· ·What flavor of Ricola cough drops?
11   · · ·A.· ·The original.
12   · · ·Q.· ·I just kind of want to understand this.· So you
13   saw the Facebook advertisement.· Was there some sort of
14   link to click?
15   · · ·A.· ·I just clicked on the ad and it opened up to
16   where you could enter your information.
17   · · ·Q.· ·So some sort of form that you were filling out?
18   · · ·A.· ·Yeah.
19   · · ·Q.· ·Can you describe that form?
20   · · ·A.· ·It was just a basic pop-up form where I put in my
21   name, number, I believe there might have been my address,
22   and if I had used the product or not.
23   · · ·Q.· ·And at the time that you responded to that ad
24   were you seeking and responding to that ad to establish an


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·1   · · ·A.· ·Yeah, within probably an hour or two, I believe.
·2   · · ·Q.· ·At the time you spoke with Mr. Sheehan for the
·3   first time, were you seeking to establish an
·4   attorney-client relationship?
·5   · · ·A.· ·No.· I wanted to know what the ad was about, if
·6   it was true.· And, actually, after our phone call I went
·7   and looked at a package that I had previously purchased and
·8   realized that, oh, okay, yeah, it is saying the same thing
·9   and that I was unhappy.
10   · · ·Q.· ·Was that the first time that you were unhappy
11   with the product?
12   · · ·A.· ·Knowing that -- trying to put this in words that
13   aren't -- maybe having something that's not quite as
14   transparent on the front of a package made me upset because
15   I have been spending more money on something that I thought
16   was better than other brands, not going to say other
17   brands, just for that.· I'd even go to a different store to
18   get said product.· So knowing that I wasted in my belief --
19   sure, the product, I've used the product, and, you know,
20   but knowing that it wasn't what I thought on the packaging
21   made me upset.· So then after knowing that, yes, I
22   consulted and decided that I wanted to have him go with my
23   case.
24   · · ·Q.· ·So prior to speaking with your attorney you had


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·1   never had any problems with the Ricola product, correct?
·2   · · ·A.· ·Not that I can recall.
·3   · · ·Q.· ·When was the first time you ever purchased the
·4   Ricola Original Herb product?
·5   · · ·A.· ·That's going to have to be an estimate because I
·6   am 38 years old and I have been buying cough drops, herbs,
·7   for probably -- I have to think of when I actually started
·8   buying my own stuff and my parents didn't buy my stuff for
·9   me -- over 20 years.
10   · · ·Q.· ·What did you like about the Ricola product?
11   · · ·A.· ·Well, thinking that it was more medicinal over
12   others that you see, that it's -- I guess in my mind I see
13   menthol on someone's packaging and, okay, everybody has
14   that, but you see herbs, I'm very much into herbs and more
15   laid back, and knowing that that was the main thing sold it
16   for me.
17   · · ·Q.· ·What do you mean by the main thing?
18   · · ·A.· ·It's the main, I would say, advert for the
19   product is that it's Swiss Alpine herbs.· So you think that
20   it would be real Swiss Alpine herbs that are doing the job.
21   · · ·Q.· ·What do you mean by "doing the job"?
22   · · ·A.· ·For your lozenges, cooling your sore throat or
23   whatever you're taking the drop for.· I have a lot of
24   asthma issues in the past, and even as a kid having a sore


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·1   throat --
·2   · · ·A.· ·I think that was the berry one that I liked,
·3   yeah.
·4   · · ·Q.· ·Are there any other Ricola products that you can
·5   think of as you sit here today that you've purchased?
·6   · · ·A.· ·I think we've gone over most of them.
·7   · · ·Q.· ·After you felt that the product was not
·8   representing accurately what it was, did you ever seek to
·9   complain to Ricola about that?
10   · · ·A.· ·No.· I never really thought about it.· I don't
11   normally -- I mean, as a kid, honestly, I look at the front
12   of the packaging and go with whatever it says.· Sadly, even
13   as a mom, now that I have a small child and I have other
14   children, I don't have a lot of time to turn the package
15   around and look what's on the back.· I go with what's on
16   the front of the package and put it into the cart.· So
17   yeah.
18   · · ·Q.· ·Did you sign a written agreement with your
19   attorneys in this case?
20   · · ·A.· ·We have a document that is signed that he is
21   representing me.
22   · · ·Q.· ·I'm going to go ahead and introduce our first
23   exhibit here today.· I'll represent to you that this is a
24   copy of an Attorney Representation Agreement that we


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·1   received from your counsel's office.
·2   · · · · · · · ·MR. BUNKER:· I have a copy for you as well.
·3   · · · · · · · ·MR. SHEEHAN:· Thank you so much.· Thank you.
·4   BY MR. BUNKER:
·5   · · ·Q.· ·Do you recognize this document?
·6   · · ·A.· ·Yes.
·7   · · ·Q.· ·Is this the agreement that you signed with
·8   Mr. Sheehan's office?
·9   · · ·A.· ·Yes.
10   · · ·Q.· ·Do you see at the bottom of the first page here
11   it has the date May 3rd, 2022?
12   · · ·A.· ·Yes.
13   · · ·Q.· ·Is that your signature next to the date?
14   · · ·A.· ·Yes.
15   · · ·Q.· ·Was May 3rd, 2022, in fact the day that you
16   signed this agreement?
17   · · ·A.· ·Yes.
18   · · ·Q.· ·Before signing this agreement, did you review all
19   of the terms?
20   · · ·A.· ·I scrolled through and read them.· Some of the
21   things I don't necessarily understand, that's more attorney
22   jargles is what I would call it because I don't understand
23   it.· I'm not an attorney.· I'm a mom.· From what I could
24   understand and knew, yes.


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·1   just says that it's made with Alpine herbs and all that.
·2   On the front of I would say another packaging it says that
·3   it's just -- it's like right there, menthol.· So knowing
·4   that there would be more than what there is.
·5   · · ·Q.· ·Let's try to break this down a little bit to
·6   better understand your allegations here.
·7   · · ·A.· ·Uh-huh.
·8   · · ·Q.· ·So is your problem with the product that there is
·9   not a sufficient amount of Swiss herbs in it?
10   · · ·A.· ·It's the front of the packaging is not
11   transparent, that made with Swiss herbs.· It says it on the
12   front of it, but when you go to the back of it it doesn't
13   have enough.· It's more so menthol just like everybody
14   else.· So I am paying more or I would assume that I had
15   been paying more all this time for a product that I thought
16   was better than another product that I would maybe -- may
17   or may not use.
18   · · ·Q.· ·How did you come to the conclusion that the
19   product does not have a sufficient amount of Swiss Alpine
20   herbs in it?
21   · · ·A.· ·After seeing the ad, after talking with my
22   attorney, after going through documents and our agreements,
23   I decided that after actually looking at it and going, oh,
24   I -- looking at the ad and then looking at the product that


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·1   I had in the bathroom, I realized that, oh, hey, it's not
·2   as much as what you would assume that it would be with what
·3   it says on the front of the packaging.
·4   · · ·Q.· ·You mentioned the -- you looking to the agreement
·5   and you mentioned documents.· What specific documents are
·6   you talking about when you said that you looked at
·7   documents that informed your opinion about the amount of
·8   Swiss Alpine herbs on the product?
·9   · · ·A.· ·Our documents that we have looked at on Zoom.
10   · · ·Q.· ·When you say "our documents," are you talking
11   about the Complaint?
12   · · ·A.· ·Yes.· Sorry.
13   · · ·Q.· ·Are there any other documents that you have
14   reviewed that informed your opinion about whether or not
15   there is a sufficient amount of Swiss Alpine herbs in the
16   product?
17   · · ·A.· ·Just with the Complaint and looking at the back
18   of the product myself.
19   · · ·Q.· ·So is it fair to say that your understanding of
20   the amount of Swiss Alpine herbs in the product is based on
21   the Complaint and the package itself?
22   · · ·A.· ·Yes.
23   · · ·Q.· ·Are there any other documents that you've
24   reviewed that have informed that opinion?


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·1   with the Defendant or to seek relief before the Court or to
·2   achieve such compensation as we see fit.
·3   · · ·Q.· ·Did you agree with that term there?
·4   · · ·A.· ·Yes.
·5   · · ·Q.· ·Is it your understanding that your attorneys are
·6   in charge of all negotiations in this case?
·7   · · ·A.· ·Between the attorneys and the judge, yes.
·8   · · ·Q.· ·Have you been previously consulted on any
·9   negotiations in this case?
10   · · ·A.· ·Negotiations, no.
11   · · ·Q.· ·Have you previously approved any demands for
12   monetary compensation from Ricola in this case?
13   · · ·A.· ·No.
14   · · ·Q.· ·I want you to turn to section 12 of this
15   agreement.· It's right at the end on page seven.
16   · · ·A.· ·Uh-huh.
17   · · ·Q.· ·Do you see that there?
18   · · ·A.· ·Number 12, yes.
19   · · ·Q.· ·It says, Any modifications to this agreement must
20   be in writing, correct?
21   · · ·A.· ·Yes.
22   · · ·Q.· ·Are there in fact any modifications to this
23   agreement?
24   · · ·A.· ·No.


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·1   · · ·A.· ·With a new prescription medication I usually talk
·2   to my doctor because I have had several flare-ups, so to
·3   speak, or issues with combining a medication or being
·4   allergic to a medication.
·5   · · ·Q.· ·Before using a new OTC product, do you look for
·6   directions on how to use the medicine?
·7   · · ·A.· ·Usually, if it's over-the-counter, depending on
·8   what it is.· If it's something I never used before, yes.
·9   · · ·Q.· ·The first time that you ever used a Ricola
10   Original Herb product, did you review the package before
11   using it?
12   · · ·A.· ·The very first time that I would have used a
13   Ricola product would have been when I was a kid and I
14   wouldn't have even cared at that time.· I would have been a
15   youngster and my mom would have been the one that would
16   have and she's deceased.
17   · · ·Q.· ·I'm sorry.
18   · · ·A.· ·Thank you.
19   · · ·Q.· ·Is it fair to say that you learned to use Ricola
20   products from your mother?
21   · · ·A.· ·Yeah, safe to say, yes.
22   · · ·Q.· ·Do you personally use social media?
23   · · ·A.· ·I do.
24   · · ·Q.· ·What kind of social media accounts do you have?


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·1   frequently did you purchase those?
·2   · · ·A.· ·Usually around November to February every year
·3   because that's generally when I'm sick, that's usually when
·4   the kids are sick.· It always seemed like I would always
·5   have a bag of something around.· You always have a handful
·6   of loose cough drops from various places, different brands.
·7   · · ·Q.· ·Can you think of any other cough drop brands you
·8   purchased?
·9   · · ·A.· ·I think we've went over all the ones that I have.
10   · · · · · · · ·MR. BUNKER:· I think this is a good natural
11   stopping point for our first break.· I know we've been
12   going for about an hour.· I want to give you a chance to
13   stretch your legs.
14   · · · · · · · ·THE WITNESS:· Okay.
15   · · · · · · · ·THE VIDEOGRAPHER:· Time is 12:00.· I'll stop
16   recording.
17   · · · · · · · (Whereupon a recess was taken.)
18   · · · · · · · ·THE VIDEOGRAPHER:· On the record at 12:24.
19   · · · · · DIRECT EXAMINATION (cont.)
20   BY MR. BUNKER:
21   · · ·Q.· ·Welcome back, Ms. Davis.
22   · · ·A.· ·Hi.
23   · · ·Q.· ·To your knowledge, has Ricola made any offers to
24   settle this lawsuit?


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·1   · · ·A.· ·Not that I know of.
·2   · · ·Q.· ·Now, we just took kind of a lengthy break.· Did
·3   you speak to your counsel about the substance of your
·4   testimony at all?
·5   · · ·A.· ·No.
·6   · · ·Q.· ·Did you speak to anyone about the substance of
·7   your testimony?
·8   · · ·A.· ·No.
·9   · · ·Q.· ·Can you name an OTC medicine you have used where
10   the instructions are on the front of the package?
11   · · ·A.· ·Not that I can recall.
12   · · ·Q.· ·Can you name any OTC medicine you've used where
13   the dosing information was on the front of the package?
14   · · ·A.· ·Not that I can recall.
15   · · ·Q.· ·From which stores have you purchased Ricola in
16   the last five years?
17   · · ·A.· ·Mostly the Walmart or Dollar General.· That's
18   about all that is available in my area.
19   · · ·Q.· ·Have you ever purchased any other Ricola products
20   online?
21   · · ·A.· ·No.
22   · · ·Q.· ·Talking specifically about your most recent
23   purchase of the Ricola Original Herb product, when was the
24   date of that purchase?


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·1   husband is here today?
·2   · · ·A.· ·He just came with me today.· I don't usually come
·3   to Peoria very often.· That's where we're at.· I don't know
·4   the area very well and he does.
·5   · · ·Q.· ·You haven't consulted with your husband about any
·6   of your testimony today, correct?
·7   · · ·A.· ·No.· The only thing that he briefly knew about
·8   was when I had signed the paperwork I just kind of told
·9   him, hey, this is what I did, this is who I was talking to.
10   Okay.· That's pretty much the gist of it.
11   · · ·Q.· ·Do you seek to purchase over-the-counter products
12   which contain herbal ingredients?
13   · · ·A.· ·Usually.· I would be more interested in products
14   that have more herbal.
15   · · ·Q.· ·What do you mean by more herbal ingredients?
16   · · ·A.· ·When I think -- on packaging, when I see
17   something that says herbal or, you know, Alpine, Swiss Alps
18   or whatever, I usually think that that's more herbal
19   than -- even though menthol technically is, but opposed to
20   menthol.· I don't -- I think of menthol as like the chest
21   vapor rub and that's, I guess it correlates in my brain
22   that way.· When I think of herbal, I think that's more
23   peaceful on your throat and not as hot and spicy,
24   especially with kids.· Sorry.


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·1   · · ·A.· ·Not that I know.· Probably not.
·2   · · ·Q.· ·Why do you say probably not?
·3   · · ·A.· ·I'm just assuming.· Most cough drops now after
·4   I've actually kind of done my own research and looked into
·5   things after this, a lot of cough drops are mostly just
·6   menthol.
·7   · · ·Q.· ·What is your understanding of how menthol is
·8   made?
·9   · · ·A.· ·I don't exactly know the process.· I know we use
10   it a lot for topicals for pain.· I actually use it a lot
11   for pain.· It's kind of weird that we would use it on our
12   bodies and inside of our bodies even though it mostly has
13   like a Vicks VapoRub, I just kind of cringe at the thought
14   of putting that in my mouth, but we do.· But I don't know
15   how menthol is made or pressed or however it's done, no.
16   · · ·Q.· ·Have you ever tried to look that up?
17   · · ·A.· ·No.
18   · · ·Q.· ·You say you've used menthol topical products.
19   Can you name any of those products?
20   · · ·A.· ·Like BENGAY, topical roll-on pain relief cream.
21   · · ·Q.· ·Any others?
22   · · ·A.· ·Most one is like BENGAY usually, or I don't know
23   how to pronounce it right but like Aspercreme.
24   · · ·Q.· ·Do you remember how much you paid for the


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·1   · · · · · Have you ever asked Walmart for a refund on any
·2   of your Ricola cough drops?
·3   · · ·A.· ·No.· And our Walmart is usually -- they're
·4   very -- if you want a refund for something, you usually
·5   have to call the -- especially if it's already been opened,
·6   but no.
·7   · · ·Q.· ·Prior to your filing of the Complaint in May of
·8   2022, were you still purchasing between 15 and 25 cough
·9   drop products per season?
10   · · ·A.· ·Yeah.
11   · · ·Q.· ·And prior to the filing of your Complaint, what
12   percentage of those were Ricola products?
13   · · ·A.· ·Probably 95%.· Household brand for us.
14   · · ·Q.· ·So would it be fair to say that you were
15   purchasing approximately 60 packs of Ricola cough drop
16   products per year?
17   · · ·A.· ·Yeah.
18   · · ·Q.· ·Were all of those purchases of the Ricola
19   Original Herb product?
20   · · ·A.· ·Most of them, but not all of them.· I have other
21   purchases of your brand as well, different flavors.
22   · · ·Q.· ·If you had to put a percent on it, what percent
23   would you say was the Ricola Original Herb product?
24   · · ·A.· ·Probably half.· Half and half.· I do like to try


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·1   different things, but I usually go to the original because
·2   it's the original.· It's --
·3   · · ·Q.· ·What were the other half, if you don't mind my
·4   asking?
·5   · · ·A.· ·The other flavors.· There was the berry one.
·6   There was that minty one that was actually pretty good.
·7   There was like three different ones; the berry one, that
·8   one, of course the original.· There was the lemony one.         I
·9   don't know all of the names exactly off the top of my head.
10   I know there are certain specific names.
11   · · ·Q.· ·Do you have any complaints about the Ricola berry
12   flavor product that you purchased?
13   · · ·A.· ·I think I only purchased it once, and I wasn't
14   really too keen on it so I went to the original, but it
15   wasn't -- like I wasn't so upset that I -- you know, I just
16   probably gave it to somebody that liked the flavor and I
17   didn't.
18   · · ·Q.· ·Was your only problem with that product the
19   flavor?
20   · · ·A.· ·Yeah, it would have been the flavor I wouldn't of
21   liked if I didn't like it.
22   · · ·Q.· ·You talked about a lemon Ricola product.· Were
23   you ever unhappy with that product?
24   · · ·A.· ·No.


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·1   said again earlier, I do have a lot of issues with
·2   medicines colliding with more prescription medication.· So
·3   cough medicine, topicals, sadly there really isn't much for
·4   pain relief but like those examples.
·5   · · ·Q.· ·Are there any non-OTC products that you purchased
·6   that have herbal ingredients?
·7   · · ·A.· ·Just like prescription?
·8   · · ·Q.· ·Either prescription or nonmedicinal.
·9   · · ·A.· ·I'm unsure.· I'm trying to think of -- I don't
10   think so.
11   · · ·Q.· ·Why do you seek to purchase products which
12   contain herbal ingredients that contribute to those
13   products' functionality?
14   · · ·A.· ·Well, I am Christian, and I do believe that God
15   gave us a lot of the things on the earth, and a lot of
16   pharmaceuticals and companies -- there is a lot of poison
17   out there.· So things that are growing on the earth I
18   believe and usually are or in my own experience are usually
19   better and work better.· So that's usually why I go more
20   about or would be more attracted to more herbal things.
21   · · ·Q.· ·Do you consider menthol to be a poison?
22   · · ·A.· ·Not necessarily a poison but not exactly -- it's
23   not as good as what I would consider an herb would do.
24   · · ·Q.· ·Why is that?


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·1   · · ·A.· ·Because it's not, that I know of, herbal.· It's
·2   more -- again, like I said before, with the Vicks VapoRub
·3   it's like greasy and spicy and all -- there are peppers and
·4   things like that that are spicy as well, but in this
·5   particular case menthol is not exactly what I usually would
·6   seek for the like spicy.· So I wouldn't assume that it
·7   would feel good on my throat normally.· Something that is
·8   more soothing would be like honey, even though honey isn't
·9   herbal, but in my realm of thinking it does go in that more
10   herbal, more earthy realm of thinking, I guess, instead of
11   menthol.· I'm thinking it's kind of set off to the other
12   side of things, more chemically.· And less chemicals the
13   better.
14   · · ·Q.· ·The Halls cough drop products you purchased
15   contain menthol, correct?
16   · · ·A.· ·Yeah.
17   · · ·Q.· ·The Luden's cough drops that you purchased
18   contain menthol, correct?
19   · · ·A.· ·Yeah.
20   · · ·Q.· ·And the DG cough drops that you purchase contain
21   menthol, correct?
22   · · ·A.· ·Yes.
23   · · ·Q.· ·And the Equate products that you purchase contain
24   menthol, correct?


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·1   since I have babies, diapers, how many per box, as opposed
·2   to a different brand, how many more bang for your buck so
·3   to speak.· They have it right there on -- at least at
·4   Walmart does unit per -- I just look at that, grab it.· Oh,
·5   that's such and such brand of diapers, throw it in the
·6   cart.· I guess at least in my growing up that's what I've
·7   kind of gone by.
·8   · · ·Q.· ·Are there any cough drop brands that you refuse
·9   to purchase other than Ricola?
10   · · ·A.· ·A lot of stuff I usually will try something once.
11   I mean, obviously if it said it had tar in it I obviously
12   would not, you know, brand new cough drop that had tar in
13   it, I obviously wouldn't purchase that, but if it had a new
14   brand that said take Ricola's name off of it and had the
15   same type of thing and had somebody else's brand, yeah, I
16   would try that.
17   · · ·Q.· ·When you would try a cough drop product for the
18   first time, do you ever review the entire package?
19   · · ·A.· ·I can't say I have.
20   · · ·Q.· ·You previously testified that you purchased
21   approximately 60 packages of Ricola products per year,
22   correct?
23   · · ·A.· ·Yeah.
24   · · ·Q.· ·You previously testified that you've been


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·1   purchasing Ricola products for approximately 20 years,
·2   correct?
·3   · · ·A.· ·On my own, yes.· Before that, who knows what.
·4   · · ·Q.· ·Would it be fair to say that you've purchased
·5   approximately 1,200 packages of Ricola products?
·6   · · ·A.· ·Probably.
·7   · · ·Q.· ·And in those 1,200 purchases, have you ever
·8   reviewed the back of a package for any Ricola product?
·9   · · ·A.· ·No.· I go with what's on the front of the
10   packaging.
11   · · ·Q.· ·In those 1,200 purchases, did you always have the
12   opportunity to review the back of the package?
13   · · ·A.· ·Sure.
14   · · ·Q.· ·And so is it fair to say that you just chose not
15   to review the back of the packages in any of those 1,200
16   instances?
17   · · ·A.· ·Yeah.
18   · · ·Q.· ·Can you tell me everything that you've done to
19   perform your duties as a class representative to date?
20   · · ·A.· ·I have gone over my -- what do you call this
21   again?· I'm sorry.
22   · · ·Q.· ·The Complaint?
23   · · ·A.· ·The Complaint.· And, yes, I'm sorry, attorney
24   lingo is not my thing.· I'm not an attorney.· The other one


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·1   · · ·Q.· ·So here, if a company calls itself an herbal
·2   cough drop, you have no problem that there is menthol in
·3   the product, correct?
·4   · · ·A.· ·If it is an actual herb, which I haven't actually
·5   looked up to see if it is or not, yeah, but it should be
·6   labeled as like these guys, instead of Swiss Alpine herbs,
·7   you don't have menthol on here.
·8   · · ·Q.· ·Can a product be both an herbal cough drop and
·9   contain menthol in your opinion?
10   · · ·A.· ·Yes.
11   · · ·Q.· ·Why is that?
12   · · ·A.· ·Because they do have the menthol and they have --
13   if I would look at the back of these, which I don't think
14   we have the back of any of those, but I'm sure they
15   probably have other herbs in them.· This other one said it
16   did, I thought it did -- I can't read that one.· One of
17   them did, I thought.· It's got like vanilla or something on
18   it.· It doesn't say that it has vanilla on these either.
19   This one even says compare to Ricola.
20   · · ·Q.· ·Why do you think it says compare to the active
21   ingredients in Ricola Natural Herb Cough Drops?
22   · · ·A.· ·Menthol.
23   · · ·Q.· ·Now, that statement you see on that page, on page
24   five, there is also the DG Health packet, correct?


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·1   · · ·A.· ·It says it is natural, okay.· Is menthol natural?
·2   But it does say that it has menthol cough suppressant.· So
·3   it's telling you what the main ingredient is.· It is still
·4   saying that it's natural, so there are natural things in
·5   there.· For those who are having issues with gluten, that's
·6   great, gluten free.· That's straight on there.
·7   · · ·Q.· ·Now, you don't consider menthol to be a natural
·8   herbal ingredient, correct?
·9   · · ·A.· ·In my mind, no.· I see it as a more chemically
10   ingredient.
11   · · ·Q.· ·But you have no problem with a cough drop that
12   says natural herbal on the front but also contains menthol?
13   · · ·A.· ·If they're labeling it -- try to reword this.· If
14   they are labeling it as that and that is in there, then
15   yeah.· When I tried to find something that didn't have as
16   much of the menthol as maybe say another one, I would try
17   to find something that maybe didn't have as much, or maybe
18   even try like my more -- actually, what we use now would be
19   tea because it's no menthol and 100% herbal.
20   · · ·Q.· ·So, as you sit here today, you have no problem
21   with a cough drop product that holds itself out as an
22   herbal cough drop in your opinion that also contains
23   menthol, correct?
24   · · ·A.· ·Yeah, that's fine, if it has other herbs in it as


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·1   well as menthol.
·2   · · ·Q.· ·And Ricola has other herbs in it other than
·3   menthol, correct?
·4   · · ·A.· ·Yes.
·5   · · ·Q.· ·We previously reviewed the Ricola package,
·6   correct?
·7   · · ·A.· ·Yes.
·8   · · ·Q.· ·And you've seen the back of that package?
·9   · · ·A.· ·Yeah.· I was going to say --
10   · · · · · · · ·MR. SHEEHAN:· Here you go.
11   · · ·A.· ·You're fine.· I'm sorry.
12   · · ·Q.· ·Now, looking at the back of the Ricola package,
13   menthol is disclosed on the back of the package, correct?
14   · · ·A.· ·Yes, on the back.
15   · · ·Q.· ·So had you reviewed the back of the package at
16   any time you would have understood that there was menthol
17   in the product, correct?
18   · · ·A.· ·Yeah.
19   · · ·Q.· ·And because in your view Ricola is an herbal
20   cough drop, you don't have a problem with the fact that
21   there is menthol in Ricola, do you?
22   · · ·A.· ·No.
23   · · ·Q.· ·What is your problem with the Ricola product?
24   · · ·A.· ·That it is not specifically saying that it has


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·1   · · ·A.· ·Yeah.
·2   · · ·Q.· ·Now, assuming menthol is an herbal ingredient
·3   that contributes to the function of the product, would you
·4   feel mislead by purchasing the Ricola Original Herb
·5   product?
·6   · · ·A.· ·Maybe.
·7   · · ·Q.· ·Why do you say maybe?
·8   · · ·A.· ·Well, if it would be then why isn't it on there
·9   with the rest of the herbs, the Alpine herbs?
10   · · ·Q.· ·So assuming that menthol is an herbal ingredient
11   and it was just omitted from the front of the package,
12   would you still feel mislead knowing that an herbal
13   ingredient contributes to the function of the product?
14   · · ·A.· ·Not necessarily.
15   · · ·Q.· ·That's because the function of the product would
16   still be provided by an herbal ingredient, correct?
17   · · ·A.· ·Then -- even then, when I did use it, it had
18   worked, it helped with my sore throat, whether it was
19   menthol if I liked menthol or not or peppermint.
20   · · · · · · · ·MR. BUNKER:· Do you want to take a break?
21   · · · · · · · ·THE WITNESS:· He's rescheduling.
22   · · · · · · · ·MR. SHEEHAN:· I don't want him to be harmed,
23   of course.
24   · · · · · · · ·THE WITNESS:· He's okay.


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·1   · · · · · · · ·THE VIDEOGRAPHER:· Time is 3:16.· I'll stop
·2   the recording.
·3   · · · · · · · · ·(Video record concluded.)
·4   · · · · · · · ·THE REPORTER:· Would you like to order the
·5   transcript?
·6   · · · · · · · ·MR. BUNKER:· I would like to put that on the
·7   transcript, yes.
·8   · · · · · · · ·THE REPORTER:· Mr. Spencer, would you like
·9   copy?
10   · · · · · · · ·MR. SHEEHAN:· Yes, please.· Only a regular
11   PDF copy.
12   · · · · · · · · (Further deponent saith not;
13   · · · · ·signature waived by agreement of counsel.)
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·1 STATE OF ILLINOIS :
· · · · · · · · · · · : SS
·2 COUNTY OF PEORIA :

·3   · · · · · I, Lea Ruth Cohen, RMR, CRR, and Notary Public in

·4   and for the County of Peoria, State of Illinois, do hereby

·5   certify that heretofore, to-wit, on Thursday, August 31,

·6   2023 personally appeared before me at 501 Main Street,

·7   Boardroom, Peoria, Illinois:

·8

·9   · · · · · LACIE DAVIS, Plaintiff herein.

10

11   · · · · · I further certify that the said witness was by me

12   first duly sworn to testify to the truth, the whole truth

13   and nothing but the truth in the cause aforesaid; that the

14   testimony then given by said witness was reported

15   stenographically by me in the presence of said witness and

16   afterwards reduced to typewriting, and the foregoing is a

17   true and correct transcript of the testimony so given by

18   said witness as aforesaid.

19

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·1   · · · · · I further certify that the signature of the

·2   witness was waived.

·3

·4   · · · · · I further certify that I am not counsel for nor

·5   in any way related to any of the parties to this suit, nor

·6   am I in any way interested in the outcome thereof.

·7

·8   · · · · · In testimony whereof, I hereunto set my hand and

·9   affix my notarial seal on this day, Wednesday, September

10   13, 2023.

11

12

13

14   · · · · · · ·________________________________

15   · · · · · · · · · · · ·Notary Public

16

17

18 · · · · Lea Ruth Cohen, Certified Shorthand Reporter
· · · · · · · (State of Illinois License #084-002868)
19 · · · · · · · My commission expires 4/12/2026

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